JS 44 11/99                        Case 1:15-cv-13102-MBB
                                    CIVIL  COVER SHEET Document  1 WHICH
                                                          COUNTY IN FiledTHIS
                                                                          08/07/15     PageMiddlesex
                                                                              ACTION AROSE: 1 of 1 County, MA
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required
for the use of the Clerk of Court for the purpose of initiating the civil docket sheet.
I. (a) PLAINTIFFS                                                                                     DEFENDANT
MACIEJ LIPSKI, PERSONAL REPRESENTATIVE OF                                                             HEALTHBRIDGE MANAGEMENT, LLC
THE ESTATE OF MARY ELLEN LIPSKI



  (b) County of Residence of First Listed Plaintiff             Middlesex County, MA                  County of Residence of First Listed Defendant
                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                             LAND INVOLVED
  (C) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)

Steven Litner, Esq.                                                                                   llJoseph M. Desmond, Esq.
Rawson Merrigan & Litner LLP                                                                          Philip J. Messier
85 Devonshire Street                                                                                  Morrison Mahoney LLP
Boston, MA 02110                                                                                      250 Summer Street
                                                                                                      Boston, MA 02210

II. BASIS OF JURISDICTION                           (Place An "X" In One Box Only)         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place An "X" In One Box For Plaintiff
                                                                                                (For Diversity Cases Only)
                                                                                                  2590                                 and One Box For Defendant)
                                                                                                                                   PLA DEF                                                  PLA     DEF
   1 U.S. Government                  3 Federal Question                                           Citizen of This State           xx     1         Incorporated or Principal Place           4       4
        Plaintiff                          (U.S. Government Not a Party)                                                           1                  of Business In This State

   2 U.S. Government                  4 Diversity                                                  Citizen of Another State              2     2    Incorporated and Principal Place           5          5
        Defendant                        (Indicate Citizenship of Parties                                                                             of Business In Another State
                                          in item III)
                                                                                                   Citizen or Subject of a               3     3    Foreign Nation                             6          6
                                                                                                      Foreign Country
IV.    NATURE OF SUIT                 (PLACE AN "X" IN ONE BOX ONLY)
         CONTRACT                                     TORTS                                           FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
  110 Insurance                        PERSONAL INJURY                PERSONAL INJURY                    610 Agriculture                      422 Appeal 28 USC 158         400 State Reapportionment
  120 Marine                           310 Airplane                 362 Personal Injury—                 620 Other Food & Drug                                              410 Antitrust
  130 Miller Act                       315 Airplane Product             Med. Malpractice                 625 Drug Related Seizure             423 Withdrawal                430 Banks and Banking
  140 Negotiable Instrument                Liability                365 Personal Injury—                     Of Property 21 USC 881               28 USC 157                450 Commerce/ICC Rates/etc.
  150 Recovery of Overpayment          320 Assault, Libel &             Product Liability                630 Liquor Laws                                                    460 Deportation
      & Enforcement of Judgment            Slander                  368 Asbestos Personal                640 R.R. & Truck                    PROPERTY RIGHTS                470 Racketeer Influenced and
  151 Medicare Act                     330 Federal Employers'           Injury Product Liability         650 Airline Regs.                                                      Corrupt Organizations
  152 Recovery of Defaulted                Liability                                                     660 Occupational                     820 Copyrights
      Student Loans                    340 Marine                   PERSONAL PROPERTY                        Safety/Health                    830 Patent                    810 Selective Service
       (Excl. Veterans)                345 Marine Product           370 Other Fraud                      690 Other                            840 Trademark                 850 Securities/Commodities/
  153 Recovery of Overpayment                Liability              371 Truth in Lending                                                                                         Exchange
                                                                                                               LABOR                         SOCIAL SECURITY                875 Customer Challenge
      of Veteran's Benefits            350 Motor Vehicle           380 Other Personal                                                                                           12 USC 3410
  160 Stockholders' Suits              355 Motor Vehicle                Property Damage                                                                                     891 Agricultural Acts
  190 Other Contract                       Product Liability     385 Property Damage                     710 Fair Labor Standards             861 HIA (1395ff)              892 Economic Stabilization Act
  195 Contract Product Liability       360 Other Personal Injury        Product Liability                    Act                              862 Black Lung (923)          893 Environmental Matters
                                                                                                         720 Labor/Mgmt. Relations            863 DWC/DIWW (405(g))         894 Energy Allocation Act
       REAL PROPERTY                    CIVIL RIGHTS               PRISONER PETITIONS                                                         864 SSID Title XVI            895 Freedom of
  210 Land Condemnation                441 Voting                     510 Motions to Vacate             730 Labor/Mgmt. Reporting             865 RSI (405(g))                  Information Act
  220 Foreclosure                      442 Employment                     Sentence                         & Disclosure Act                                                 900 Appeal of Fee Determination
  230 Rent Lease & Equipment           443 Housing/                   HABEAS CORPUS:                    740 Railway Labor Act                FEDERAL TAX SUITS                  Under Equal Access to Justice
  240 Torts to Land                        Accommodations             530 General                                                                                           950 Constitutionality of
  245 Tort Product Liability           444 Welfare                    535 Death Penalty                  790 Other Labor Litigation           870 Taxes (U.S. Plaintiff         State Statutes
  290 All Other Real Property          440 Other Civil Rights         540 Mandamus & Other                                                     or Defendant                 890 Other Statutory Actions
                                                                      550 Civil Rights                   791 Empl. Ret. Inc.                  871 IRS — Third Party
                                                                      555 Prison Condition                   Security Act                          26 USC 7609
                                                                                                                                                                                        Appeal to
V. ORIGIN            (Place An "X" In One Box Only)                                                                                                                                     District
                                                                                                                      Transferred from                                                  Judge from
  1 Original                 2 Removed from              3 Remanded from              4 Reinstated or                5 another district                   6 Multidistrict             7 Magistrate
      Proceeding               State Court                 Appellate Court             Reopened                              (specify)                      Litigation                  Judgment
VI. CAUSE OF ACTION                    (Cite The US Civil Statute Under Which You Are Filing And Write A Brief Statement Of Cause.
                                         Do Not Cite Jurisdictional Statues Unless Diversity)
 28 USC §1332, 1441 and 1446

VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                         DEMAND                                CHECK YES only if demanded in complaint:
     COMPLAINT:                                                                                                                                JURY DEMAND:                     X Yes                 No
VIII. RELATED CASE(S) (See instructions)
         IF ANY                                                     JUDGE                                                                       DOCKET NUMBER

DATE                                                               SIGNATURE OF ATTORNEY OF RECORD

8/7/15                                                             JOSEPH M. DESMOND
